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                                                        U.S. Department of Justice


                                                       United States Attorney
                                                       District of Maryland
                                                       Northern Division


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                                                       April 30, 2020

VIA E-MAIL AND ECF

The Honorable James K. Bredar
United States District Court
  for the District of Maryland
101 West Lombard Street
Baltimore, Maryland 21201

           Re:        United States v. Oscar Sorto Romero, No. JKB-16-0259

Dear Judge Bredar:

         On January 8, 2020, this court set a deadline for the Government to announce its position
on the death penalty in the above matter by May 1, 2020. ECF 760. The court also set a telephone
status conference for May 5, 2020 at 5:00pm. Id. Since that time, the court has entered several
standing orders addressing the COVID-19 pandemic, including an order postponing any trials set
to start through June 5, 2020 and extending any interim filing deadlines by eighty-four (84) days.
See Standing Order 2020-07. In addition, in this matter, the court issued an order vacating the
June 1, 2020 trial of a number of co-defendants, and all other dates and deadlines, and setting a
telephone scheduling conference for July 15, 2020. ECF 906.

        We write to ask the court to vacate the May 1, 2020 deadline (to the extent the above orders
did not already do so) and to allow the parties to submit a status report updating the court on the
capital case process in relation to Mr. Sorto Romero by July 10, 2020, in advance of the July 15,
2020 conference call. We have discussed this with counsel for Mr. Sorto Romero and they do not
object to the request. If granted, the parties will submit a separate Speedy Trial Act motion.

        We note that, on July 10, the parties may need to request even more time for this process.
The current operating limitations make it impossible for defense counsel to do the mitigation
investigation that would be necessary to provide a full presentation to the Department of Justice’s
Capital Case Committee should that prove necessary. Of course, that is time-consuming even in
the best of circumstances.
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The Honorable James K. Bredar
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       Should you have any questions or need any additional information, please feel free to
contact me at (410) 209-4859.
                                               Sincerely,


                                                 __/s/__________________________
                                                 Kenneth S. Clark
                                                 Matthew DellaBetta
                                                 Catherine K. Dick
                                                 Assistant United States Attorneys

cc:     E. Balarezo (via ECF)
        C. Adams (via ECF)
